ZPROB 12

“S““‘“"“ Case 210acf-203Oz-ssaassnn§ana@aeanea@e 1 Of 2 Pa@e'f> 30

for F"[l.f;“D B"." a D.C.

wEsTERN DISTRICT oF TENNESSEE 95 tim -2 AM 9= 32

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U.s.A.vS. Charlesaess mckenna 2=02€1\20302-51..; '.,JI=;,'¢E;CTNS

Petition on Probation and Supervised Release

COMES NOW Edward E. Shaw PROBATI()N OFFICER OF 'I`HE COURT presenting an official
report upon the conduct and attitude of Charles Bess who Was placed on supervision by the Honorable Bernice
B. Donald sitting in the court at Memphis, TN on the__3_rd_day of January, 2003, who fixed the period of
supervision at three §3) years* , and imposed the general terms and conditions theretofore adopted by the
Court and also imposed special conditions and terms as follows:

 

l. The defendant shall participate in the Home Detention program for five (5) months. [Completed.]
. The defendant shall pay restitution in the amount of $9,000. [Balance: $6,700.00]
3. The defendant shall not open any new lines of credit or incur new credit purchases in excess of
$l ,000.00 without approval of the Probation Oflicer.
4. The defendant shall pay restitution in monthly installments in the amount equal to lO% of his monthly

gross income. {Added by Order of the Court on April 6, 2004.}
* Supervised Release began on March 28, 2003.

RESPECTFULLY PRESENTING PETITION FOR ACTI()N OF COURT FOR CAUSE AS FOLLOWS:

Mr. Bess fits the criteria for early termination recommended by the J udicial Conference Comrnittee on Criminal
Law. Mr. Bess has made progressive st:rides toward achieving supervision objectives and appears to pose no risk
to public safety. Mr. Tim Discenza, Assistant U. S. Attorney, has indicated that the government has no objection
to early termination of supervision

PRAYING THAT THE C()URT WILL ORDER that the defendant be discharged immediately from Supervised
Release, with the understanding that the United States Attorney’s Oftice Will be responsible for the continued
collection of restitution

 

ORDER OF COURT Re%tfully,
Considered and ordered this gale day of W f /U\"
MWL_, 2005 and ordered Edward E. Shaw, U.S.`l’robation Oflicer
filed and m e a part of the records in the Electronic Monitoring Specialist

the above case.

Place: Memnhis. TN

  

Date: Anril 18, 2005
Un‘ ed States District Judge

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with Ftu|e 55 and/or 32(b) FHCrP on §" /“'l

   

UNITED sATE lsTRlCT COURT - W"'RNT DIsTRCT oFTENNEssEE

   

Notice of Distribution

This notice confirms a copy of` the document docketed as number 28 in
case 2:02-CR-20302 Was distributed by f`aX, mail, or direct printing on
May 4, 2005 to the parties listed.

 

 

Timothy R. DiScenZa

U.S. ATTORNEY'S OFFICE
167 N. Main St.

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l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

